     Case 1:20-cr-00183-RJJ ECF No. 406, PageID.2820 Filed 01/14/22 Page 1 of 8




                          THE UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION
                            ___________________________________

THE UNITED STATES OF AMERICA,
                                                                   Case No. 1:20-CR-183
                Plaintiff,
                                                                   Hon. Robert J. Jonker
v.                                                                 Chief U.S. District Court Judge

KALEB FRANKS,

                Defendant.


             DEFENDANT’S MOTION TO COMPEL PRODUCTION OF
              JAIL-CALL RECORDINGS AND MEMO IN SUPPORT


         In anticipation of the start of trial on March 8, 2022, Mr. Kaleb Franks now

asks the Court to order disclosure of jail-call recordings (and emails/texts if there

are any1) for incarcerated defendants (in state or federal matters) who will testify

for the government. In support of this motion, he offers the following memorandum

of law.

                                           Legal Discussion

         While jail calls, especially in the last decade, have represented contentious

territory in terms of discovery, Brady obligations, and subpoena powers, courts have

increasingly recognized defendants’ rights with regard to obtaining call recordings.




1
 Courts recognize the potential for ordering production of letters and emails sent from custodial facilities if
evidence suggests copies are available. See, e.g., United States v. Benanti, No. 3:15-CR-177, 2017 U.S. Dist.
LEXIS 2101, at *1 n.1 (E.D. Tenn. Jan. 6, 2017) (unpublished). In Benanti, though, evidence did not
suggest the defendants in question had sent any letters or emails while incarcerated, or that copies
would be available.
    Case 1:20-cr-00183-RJJ ECF No. 406, PageID.2821 Filed 01/14/22 Page 2 of 8




In United States v. Benanti, No. 3:15-CR-177, 2017 U.S. Dist. LEXIS 2101, at *3

(E.D. Tenn. Jan. 6, 2017) (unpublished), for example, the trial court found that the

contested jail calls (those between a codefendant and his girlfriend) fell under

Jencks and ordered the government to produce them.

        The government can’t review materials like these to assess whether they fall

under Brady.2 For example, in United States v. Benanti, the prosecution had

listened to the recordings and concluded that “they contained nothing helpful to the

defense.” See Benanti, 2017 U.S. Dist. LEXIS 2101, at *3. The court, however, saw

things differently and “strongly encouraged” the government to produce the calls

two weeks before trial, to give the defense time to listen to the fifteen hours of

recordings. See id. at * 11-*12.

        A year after Benanti, a court in the Eastern District of California similarly

ordered production of jail calls. In United States v. Habash, No. 1:15-CR-286, 2018

U.S. Dist. LEXIS 14970, at *24 (E.D. Cal. Jan. 30, 2018) (unpublished), the court

granted a defense motion to obtain jail calls. It reasoned that, while the government

contended it did not have the jail calls, the government had produced some of the

calls, so it appeared the government had “some control over obtaining the jail calls,

and therefore, the jail calls should be produced.” Habash, 2018 U.S. Dist. LEXIS

14970, at *24. In United States v. Mills, No. 16-cr-20460, 2019 U.S. Dist. LEXIS



2 Courts have noted that even seemingly inculpatory materials may be discoverable by the defense in
certain circumstances. See, e.g., United States v. Pesaturo, 519 F. Supp. 2d 177, 189 (D. Mass. 2007)
(“Although the content of the conversations appears to undermine the defense, under Rule 16 the
Defendant is entitled to relevant evidence, even if inculpatory. He need not show that the statements
are material or exculpatory.”)

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 Case 1:20-cr-00183-RJJ ECF No. 406, PageID.2822 Filed 01/14/22 Page 3 of 8




146007, at *13, *19 (E.D. Mich. Aug. 28, 2019) (unpublished), with regard to the

defendant’s statements, the government simply agreed to “promptly produce any

future statements, including recorded jail calls.” Even in the non-Brady context in

Mills, the court ordered production of codefendants’ jail-call statements at least

sixty days before trial (and production of Jencks material at least thirty days before

trial). See Mills, 2019 U.S. Dist. LEXIS 146007, at *18-*20.

      In Anderson v. City of Rockford, 932 F.3d 494, 498 (7th Cir. 2019), the Seventh

Circuit considered an action under 42 U.S.C. § 1983. The appellate court found that

the district court had erred by rejecting the plaintiffs’ contention that a Brady

violation (related to other violations) occurred with the delayed disclosure of a

cooperator’s recorded jail calls. Anderson, 932 F.3d at 508. The recordings contained

some forty hours of conversations between the cooperator and his family and

friends. In them, the cooperator “told his family and friends that he was not present

when his nephew was shot; he was threatened with additional charges if he failed to

cooperate; he was physically threatened by police; and he was coached on what to

say to police.” Id. “Without question this evidence [wa]s both favorable and material

to the plaintiffs.” The appellate court found that the plaintiffs had come forward

with enough to survive summary judgment on a Brady-violation claim. Id.

      These instant circumstances involve Mr. Franks asking for the jail-call

materials, and clear government possession of/access to them. Cf. United States v.

Guerrero, 768 F.3d 351, 363-64 (5th Cir. 2014) (noting that the defense had failed to

seek production of the disputed discovery materials (including the defendant’s


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 Case 1:20-cr-00183-RJJ ECF No. 406, PageID.2823 Filed 01/14/22 Page 4 of 8




brother’s jail calls) during trial, and that this failure had deprived the district court

of an opportunity to take the necessary steps to determine whether the materials

were in the government’s possession).

      Another example of a defense request for cooperator jail calls ending in an

agreement for the government to turn call recordings over comes in United States v.

Muschette, 392 F. Supp. 3d 282 (E.D.N.Y. 2019). In anticipation of trial, the defense

“requested ‘the jail calls for all of the cooperators’” to determine whether

cooperating witnesses had talked about the subject murder on the phone while in

custody. Muschette, 392 F. Supp. 3d 282 at 289. At a status conference before a

magistrate judge, the prosecution in that case indicated that it was prepared to turn

over the recorded telephone calls of its cooperating witnesses—that is, the calls it

currently had in its possession. Id. The government did disclaim having calls from

the four months before and four months after the murder because the Bureau of

Prisons supposedly only retained calls for six months. Id. At a subsequent

conference, the prosecution confirmed it had provided the defense with all of the

recorded telephone calls in its possession.” Id.

      The rub in the case came when the prosecution, post-trial, notified the

defense that it had located more than 400 additional recordings of calls. Id. The

defense then brought a Rule 33 motion for a new trial, alleging Brady violations. Id.

at 290. In declining to order a new trial based on a Brady violation, the district

court found that the defendants had already had a video that featured a cooperating

witness confessing to his involvement in the murder; the defense did not use this


                                            4
 Case 1:20-cr-00183-RJJ ECF No. 406, PageID.2824 Filed 01/14/22 Page 5 of 8




video during trial. Id. at 296. The defense had already known a number of facts

about the cooperator, including his perception of the murder victim as a cooperator

in that victim’s own right, and that the cooperating witness at issue had had

obstruction-of-justice charges filed against him. Id. Thus, a lack of access to the

withheld jail calls had not crippled the defense. Id. The district court also found that

the defense had presented an “extraordinarily attenuated and implausible” Brady

claim, the nature of which was such that it was “hardly clear an objectively

reasonable prosecutor should have recognized the calls as having exculpatory or

impeachment value.” Id. at 297. Otherwise, it seems that the calls could have been

fair game from a discovery perspective. See id. at 295 (explaining that the defense’s

claim failed only “[b]ecause the calls were not suppressed and are cumulative,

immaterial, or both”).

      The weaknesses found in the defense’s position in Muschette do not plague

Mr. Franks’s stance. Given the looming entrapment defense and the evidence of

government overreaching in the investigation, jail calls from codefendants in this

matter and defendants in related cases (people like Bill Null, charged in Antrim

County, and Barry Croft, who thought of Mr. Franks as just some young guy from

Michigan) would relate to major points. First, with the recent arrival of the latest

discovery materials, counsel has reviewed post-arrest statements from numerous

individuals. These statements often involve a defendant expressing surprise that

Kaleb Franks ended up a suspect since he wasn’t involved in the government’s

supposedly key activities. Second, these statements also involve people affirming


                                           5
 Case 1:20-cr-00183-RJJ ECF No. 406, PageID.2825 Filed 01/14/22 Page 6 of 8




that CHS Dan led the group and led activities. Third, many individuals making

statements did not know Kaleb Franks at all or did not know him well.

      So jail calls present a means of establishing Mr. Franks’s lack of participation

in the alleged conspiracy, Mr. Franks’s lack of any sort of leadership role, and a

CHS’s unequivocal leadership role. Unlike in Muschette, these calls can confirm

these points. They can provide a means for Mr. Franks to establish his lack of

participation in any planning or wrongdoing. Defendants calling loved ones and

supporters generally discuss the charges against them, the people involved in their

cases, and the events that led to their arrests. They may also discuss the

government’s pressure on them to cooperate and any statements they have made to

the government. Given the tenuous, limited mention of Mr. Franks in many

defendants’ statements so far, jail calls would likely establish Mr. Franks’s non-

participation in the events, discussions, and supposed “planning” the government

has presented as critical to its charges here and in the related state cases. The calls

could also reveal government pressures to cooperate and/or inconsistencies in

statements/anticipated testimony.

      Simply, the calls will provide material Mr. Franks does not already have.

Unlike in Muschette, the defense here does not recognize “that the calls prove little

on their own.” See id. at 298. (The Muschette decision does still represent an

example of the government and court addressing with the defense cooperator jail

calls, and the government turning over the call recordings it obviously had in its

possession at the time.)


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 Case 1:20-cr-00183-RJJ ECF No. 406, PageID.2826 Filed 01/14/22 Page 7 of 8




      Taking in the jail-call landscape as a whole, the government has access to

recorded jail calls. One-way government access to these calls presents significant

issues on various levels, but in Mr. Franks’s case, the problem is compounded

because evidence like people’s post-arrest statements suggests that Mr. Franks’s

federal codefendants’ calls, and cooperating state defendants’ calls, include

statements to the effect that CHS Dan led the group and Kaleb was not involved.

Because of the exculpatory nature of this evidence, and because the government has

access to these calls, the government should produce copies of these call recordings

for Mr. Franks’s review.

                                     Conclusion

      Jail calls are discoverable. Mr. Franks asks the court to produce all recorded

jails calls and copies of messages (like JPay emails) for cooperators and defendants

charged in state proceedings.

                                       Respectfully submitted,

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                                             7
 Case 1:20-cr-00183-RJJ ECF No. 406, PageID.2827 Filed 01/14/22 Page 8 of 8




                       CERTIFICATE OF COMPLIANCE

      In accordance with Local Criminal Rule 47.2(b)(ii), counsel asserts that this

brief contains 1,692 words, as counted by Microsoft Word, version 16.56.

                                      Respectfully Submitted,

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